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IN THE UNITED STATES DISTRICT COURT FILED IN OPEN 20 wy
FOR THE NORTHERN DISTRICT OF GEORGIA USDC. -Alleny
ATLANTA DIVISION

FEB 17 2094
JAMES N. HATTEN, Clerk
UNITED STATES OF AMERICA By:
Deputy Clerk
v Criminal Action No.

1:21-MJ-151
VERDEN ANDREW NALLEY

Government’s Motion for Detention

The United States of America, by counsel, Kurt R. Erskine, Acting United States
Attorney, and Ryan K. Buchanan, Assistant United States Attorney for the

Northern District of Georgia, moves for detention under 18 U.S.C. §§ 3142(e) and

(f).
1. Eligibility of Case
This case is eligible for a detention order because this case involves:
A serious risk that the defendant will flee;
A serious risk that the defendant will obstruct or attempt to obstruct
justice; and
A serious risk that the defendant will threaten, injure, or intimidate a

prospective witness or juror, or attempt to do so.
2. Reason for Detention

The Court should detain defendant because there are no conditions of release
that will reasonably assure the appearance of the person as required and the

safety of any other person and the community.

 

 
 

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3. Time for Detention Hearing

The United States requests the Court conduct the detention hearing after

continuance of 2 days.

The United States requests leave of Court to supplement this motion with

additional grounds or presumptions for detention.

Dated: February 17, 2021.

Respectfully submitted,

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Certificate of Service

I served this document today by electronic mail.

February 17, 2021
Kiya A. Buchanan

 

"RYAN K. BUCHANAN
Assistant U.S. Attorney

 
